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                                         14
                                                                   UNITED STATES DISTRICT COURT
                                         15
                                                                  SOUTHERN DISTRICT OF CALIFORNIA
                                         16
                                         17                                                                        '10CV2505 H NLS
                                                Amin Nazemzadeh                                       Case Number: ________________
                                         18
                                                                        Plaintiff,                    Complaint For Damages
                                         19
                                                v.
                                         20                                                           Jury Trial Demanded
                                                Law Offices of Patenaude & Felix,
                                         21
                                                APC
                                         22
                                                                        Defendant.
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                                          1                                            INTRODUCTION
                                          2   1.    Amin Nazemzadeh, (Plaintiff), through Plaintiff's attorneys, brings this action
                                          3         to challenge the actions of Law Offices of Patenaude & Felix, APC,
                                          4         (“Defendant”), with regard to attempts by Defendant to unlawfully and
                                          5         abusively collect a debt allegedly owed by Plaintiff, and this conduct caused
                                          6         Plaintiff damages.
                                          7   2.    Plaintiff makes these allegations on information and belief, with the exception
                                          8         of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                          9         Plaintiff alleges on personal knowledge.
                                         10   3.    While many violations are described below with specificity, this Complaint
                                         11         alleges violations of the statutes cited in their entirety.
                                         12   4.    Unless otherwise stated, all the conduct engaged in by Defendant took place
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                                         13         in California.
                                         14   5.    Any violations by Defendant were knowing, willful, and intentional, and
                                         15         Defendant did not maintain procedures reasonably adapted to avoid any such
                                         16         violation.
                                         17                                     JURISDICTION AND VENUE
                                         18   6.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                         19         1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                         20   7.    This action arises out of Defendant's violations of the Fair Debt Collection
                                         21         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
                                         22         Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                         23         (“Rosenthal Act”).
                                         24   8.    Because Defendant does business within the State of California, personal
                                         25         jurisdiction is established.
                                         26   9.    Venue is proper pursuant to 28 U.S.C. § 1391.
                                         27   10.   At all times relevant, Defendant conducted business within the State of
                                         28         California.

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                                          1                                                 PARTIES
                                          2   11.   Plaintiff is a natural person who resides in the City of Sherman Oaks, State of
                                          3         California.
                                          4   12.   Defendant is located in the City of San Diego, in the State of California.
                                          5   13.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                          6         as that term is defined by 15 U.S.C. § 1692a(3).
                                          7   14.   Defendant is a person who uses an instrumentality of interstate commerce or
                                          8         the mails in a business the principal purpose of which is the collection of
                                          9         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                         10         debts owed or due or asserted to be owed or due another and is therefore a
                                         11         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                         12   15.   Plaintiff is a natural person from whom a debt collector sought to collect a
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                                         13         consumer debt which was due and owing or alleged to be due and owing from
                                         14         Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                         15         1788.2(h).
                                         16   16.   Defendant, in the ordinary course of business, regularly, on behalf of himself,
                                         17         herself, or others, engages in debt collection as that term is defined by
                                         18         California Civil Code § 1788.2(b), is therefore a debt collector as that term is
                                         19         defined by California Civil Code § 1788.2(c).
                                         20   17.   This case involves money, property or their equivalent, due or owing or
                                         21         alleged to be due or owing from a natural person by reason of a consumer
                                         22         credit transaction. As such, this action arises out of a consumer debt and
                                         23         “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                         24                                       FACTUAL ALLEGATIONS
                                         25   18.   Sometime before October, 2010, Plaintiff is alleged to have incurred certain
                                         26         financial obligations.
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                                          1   19.   These financial obligations were primarily for personal, family or household
                                          2         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                          3         §1692a(5).
                                          4   20.   These alleged obligations were money, property, or their equivalent, which is
                                          5         due or owing, or alleged to be due or owing, from a natural person to another
                                          6         person and are therefore a “debt” as that term is defined by California Civil
                                          7         Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                          8         Civil Code §1788.2(f).
                                          9   21.   Sometime thereafter, but before October, 2010, Plaintiff allegedly fell behind
                                         10         in the payments allegedly owed on the alleged debt. Plaintiff currently takes
                                         11         no position as to the validity of this alleged debt.
                                         12   22.   Subsequently, but before October, 2010, the alleged debt was assigned,
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                                         13         placed, or otherwise transferred, to Defendant for collection.
                                         14   23.   On or about October, 2010, Defendant telephoned Plaintiff and demanded
                                         15         payment of the alleged debt.
                                         16   24.   This communication to Plaintiff was a “communication” as that term is
                                         17         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                         18         with 15 U.S.C. § 1692g(a).
                                         19   25.   This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
                                         20         defines that phrase, and an “initial communication” consistent with Cal. Civ.
                                         21         Code § 1812.700(b).
                                         22   26.   After Defendant’s initial contact with Plaintiff and subsequent telephone calls,
                                         23         Plaintiff retained the services of an attorney.
                                         24   27.   In early October 2010, Plaintiff’s attorney contacted Defendant directly by
                                         25         telephone, informing Defendant that Plaintiff was represented and provided
                                         26         contact information along with a verbal offer in an attempt to resolve the
                                         27         underlying alleged debt.
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                                          1   28.   Immediately after terminating the telephone call with Plaintiff’s attorney,
                                          2         Defendant, in retaliation for Plaintiff retaining an attorney, telephoned
                                          3         Plaintiff directly without Plaintiff’s attorney’s knowledge or consent. During
                                          4         this telephone call, Defendant’s representative reprimanded Plaintiff for
                                          5         retaining an attorney and told Plaintiff that Defendant will not resolve the
                                          6         alleged debt with Plaintiff.
                                          7   29.   Without the prior consent of the consumer given directly to the Defendant or
                                          8         the express permission of a court of competent jurisdiction, Defendant
                                          9         communicated with the consumer in connection with the collection of a debt
                                         10         when Defendant knew the consumer was represented by an attorney with
                                         11         respect to such debt and had knowledge of, or could have readily ascertained
                                         12         such attorney’s name and address.                  Consequently, Defendant violated 15
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                                         13         U.S.C. § 1692c(a)(2).
                                         14   30.   Because this violated certain portions of the federal Fair Debt Collection
                                         15         Practices Act as these portions are incorporated by reference in the Rosenthal
                                         16         Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
                                         17         this conduct or omission violated Cal. Civ. Code § 1788.17.
                                         18                                          CAUSES OF ACTION
                                         19                                                 COUNT I
                                         20                     FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                         21                                      15 U.S.C. §§ 1692 ET SEQ.
                                         22   31.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                         23         paragraphs.
                                         24   32.   The foregoing acts and omissions constitute numerous and multiple violations
                                         25         of the FDCPA, including but not limited to each and every one of the above-
                                         26         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                         27   33.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                         28         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

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                                          1          an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                          2          reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                          3          Defendant.
                                          4                                                COUNT II
                                          5         ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
                                          6                                 CAL. CIV. CODE §§ 1788-1788.32
                                          7   34.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                          8          paragraphs.
                                          9   35.    The foregoing acts and omissions constitute numerous and multiple violations
                                         10          of the Rosenthal Act, including but not limited to each and every one of the
                                         11          above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
                                         12   36.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
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                                         13          entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);
                                         14          statutory damages for a knowing or willful violation in the amount up to
                                         15          $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
                                         16          fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
                                         17                                         PRAYER FOR RELIEF
                                         18   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                         19   Plaintiff be awarded damages from Defendant, as follows:
                                         20          •     An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                         21                1692k(a)(2)(A);
                                         22          •     An award of costs of litigation and reasonable attorney’s fees, pursuant
                                         23                to 15 U.S.C. § 1692k(a)(3);
                                         24          •     An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
                                         25                § 1788.30(b);
                                         26          •     An award of costs of litigation and reasonable attorney’s fees, pursuant
                                         27                to Cal. Civ. Code § 1788.30(c).
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                                          1   37.   Pursuant to the seventh amendment to the Constitution of the United States of
                                          2         America, Plaintiff is entitled to, and demands, a trial by jury.
                                          3
                                          4   Respectfully submitted,
                                                                                                       Hyde & Swigart
                                          5
                                          6
                                              Date: December 7, 2010                            By: /s/ Joshua Swigart
                                          7
                                                                                                   Joshua B. Swigart
                                          8                                                        Attorneys for Plaintiff
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                 San Diego, California




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